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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

DAVID KIRCHER,

              Plaintiff,
                                                         Case No. 04-72449
v.                                                       Hon. Gerald E. Rosen

CITY OF YPSILANTI, CHERYL FARMER,
CHARLES BOULARD, JON ICHESCO,
ROBERT BARNES, DONALD SHELTON,
and TIMOTHY CONNORS,

           Defendants.
_________________________________/

       OPINION AND ORDER REGARDING DEFENDANTS’ MOTIONS
      TO DISMISS, FOR SUMMARY JUDGMENT, AND FOR SANCTIONS

                               At a session of said Court, held in
                            the U.S. Courthouse, Detroit, Michigan
                            on        October 10, 2006

                           PRESENT: Honorable Gerald E. Rosen
                                    United States District Judge

                                   I. INTRODUCTION

       Plaintiff David Kircher commenced this case in this Court on July 1, 2004,

alleging that the City of Ypsilanti, certain City officials — including mayor Cheryl

Farmer, building inspector Charles Boulard, and fire marshal Jon Ichesco — an Ypsilanti

landowner, Robert Barnes, and two Washtenaw County Circuit Court judges, Donald

Shelton and Timothy Connors, violated his federal constitutional rights through their

actions in connection with three state court lawsuits concerning Plaintiff’s property in
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Ypsilanti. The Court’s subject matter jurisdiction rests upon Plaintiff’s assertion of

federal claims under 42 U.S.C. § 1983. See 28 U.S.C. § 1331.

       Through three motions now pending before the Court, Defendants seek the

dismissal of this action or summary judgment in their favor on a variety of grounds.

Defendants Shelton and Connors (the “Judicial Defendants”) have invoked the Rooker-

Feldman doctrine, judicial immunity, Younger abstention, and claim preclusion as

grounds for dismissal of the claims against them. Defendants City of Ypsilanti, Farmer,

Boulard, and Ichesco (the “Ypsilanti Defendants”) also appeal to the Rooker-Feldman

doctrine, Younger abstention, and claim preclusion, and they further contend that any

Fifth Amendment takings claim arguably asserted in Plaintiff’s complaint is not ripe for

federal court adjudication.1 Finally, apart from these motions seeking dismissal or

summary judgment, the Judicial Defendants seek the imposition of sanctions against

Plaintiff and his counsel pursuant to Fed. R. Civ. P. 11.

       These motions have been fully briefed by the parties, including the submission of

various supplemental briefs that are principally directed at subsequent developments in

the ongoing state court litigation. Having reviewed the parties’ written submissions and

the record as a whole, the Court finds that the pertinent facts, allegations, and legal issues

are sufficiently presented in these materials, and that oral argument would not assist in the

resolution of Defendants’ motions. Accordingly, the Court will decide these motions “on



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        Defendant Barnes has filed a notice of his joinder in the Ypsilanti Defendants’ motion.

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the briefs.” See Local Rule 7.1(e)(2), U.S. District Court, Eastern District of Michigan.

This Opinion and Order sets forth the Court’s rulings.

                II. FACTUAL AND PROCEDURAL BACKGROUND

A.     The State Court Litigation

       As indicated, the allegations of Plaintiff’s first amended complaint primarily relate

to three state court actions concerning Plaintiff’s property in Ypsilanti, Michigan.

Accordingly, the Court briefly summarizes these state court suits as characterized in

Plaintiff’s complaint.

       1.     510 W. Cross Street

       The first state court action concerns a five-unit apartment house at 510 W. Cross

Street, which Plaintiff has owned since at least 1969. Apart from this building, the

remainder of the properties on this block are owned by Defendant Robert Barnes, an

Ypsilanti landlord. Barnes allegedly offered to buy Plaintiff’s property in 2000, but

Plaintiff refused to sell. This refusal, in Plaintiff’s view, precipitated the Ypsilanti

Defendants’ alleged attempt to transfer Plaintiff’s property to Barnes through other,

purportedly unlawful means — specifically, state court litigation.

       In particular, on May 15, 2001, Defendant Jon Ichesco, Ypsilanti’s fire marshal,

brought suit in Washtenaw County Circuit Court under Michigan’s fire prevention code,

Mich. Comp. Laws § 29.1 et seq., seeking to abate an alleged nuisance on Plaintiff’s

Cross Street property that purportedly constituted a “fire hazard” under Mich. Comp.

Laws § 29.23. This case was assigned to Defendant Washtenaw County Circuit Judge

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Donald Shelton. Plaintiff alleges that the jurisdictional predicate to such a suit was

lacking, and that Judge Shelton failed to make the determinations required under the

Michigan statute.

       While this suit was pending, Plaintiff allegedly secured the agreement of the City

of Ypsilanti’s director of public works, Harry Hutchison, that a certificate of occupancy

would be issued for the Cross Street property upon Plaintiff’s completion of five specified

repairs. Although Plaintiff allegedly undertook these repairs, Defendant Charles Boulard,

the Ypsilanti building inspector, allegedly refused in June of 2002 to inspect the premises

to confirm these repairs, citing his view that this would be contrary to oral and written

orders purportedly issued in the nuisance abatement proceeding.

       Shortly thereafter, on June 14, 2002, Judge Shelton issued an order granting the

City of Ypsilanti the “exclusive responsibility and right” to make certain repairs to the

Cross Street property and obligating Plaintiff to pay for these repairs. Plaintiff cites two

alleged defects in this order: (i) that Judge Shelton failed to find a “dangerous or

menacing” fire hazard that would warrant an abatement order under Mich. Comp. Laws §

29.23; and (ii) that the City did not solicit competitive bids for making the court-ordered

repairs, but instead secured the appointment of Defendant Barnes to perform this work

“on payment terms which [we]re grossly above market rates.” (First Amended Complaint

at ¶ 35.)

       Upon undertaking repairs to the property pursuant to the court’s order, Barnes

sought reimbursement in early 2003 in the amount of $54,345. According to Plaintiff,

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however, the Ypsilanti Defendants pressed for additional repairs to the property for the

impermissible purpose of making it “economically viable,” rather than to merely abate an

alleged nuisance. Plaintiff alleges that Judge Shelton implicitly endorsed this goal

through an April 8, 2003 order, in which possession of the Cross Street property was to be

returned to Plaintiff if he paid the amount owed to Barnes within thirty days. In

particular, Plaintiff cites additional language in this order providing that, if Barnes was

not paid within thirty days, the City (i) was to “continue to effectuate the repairs

necessary to obtain a certificate of occupancy,” and (ii) was then authorized to “make

commercially reasonable arrangements to rent the premises.” Plaintiff alleges that there

was no lawful basis under any relevant fire or building code for the City to pursue an

“economic viability” goal or seek a certificate of occupancy through the Cross Street

litigation, but that Judge Shelton instead should have restored Plaintiff’s possession of the

property upon finding that all fire hazards had been abated.

       As a result of the court’s orders, Plaintiff alleges that the Ypsilanti Defendants

awarded Barnes an additional contract to effectuate further repairs that far exceed the

scope of nuisance abatement and are designed to prevent Plaintiff from regaining

ownership and control of the property. Specifically, Plaintiff alleges that Barnes has

gutted the property and secured a special-use permit to reconfigure the premises to a

fraternity/sorority house, and that he has sought reimbursement of an additional amount in




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excess of $150,000 before Plaintiff may reclaim his property.2

       2.      The Thompson Building

       The second state court suit at issue here concerns Plaintiff’s property at 400-412

River Street in Ypsilanti, referred to by the parties as the Thompson Building. In April of

2002, Defendant Ichesco filed a complaint for an order to show cause in the Washtenaw

County Circuit Court, alleging that Plaintiff had failed to comply with a 1997 court order

entered in two prior consolidated nuisance abatement actions involving the Thompson

Building. Again, Plaintiff alleges that this suit was not brought for the limited and

legitimate purpose of abating a “fire hazard” within the meaning of Mich. Comp. Laws

29.23, but instead was in furtherance of the City’s desire to force the reconfiguration and

improvement of the property and advance the impermissible aim of “economic viability.”

Plaintiff further alleges that this suit lacked a jurisdictional basis. This case, like the

Cross Street action, was assigned to Judge Shelton.

       On June 14, 2002, Judge Shelton issued an order appointing Defendant Barnes as

the receiver for the Thompson Building property, for the purpose of bringing the property

into compliance with Ypsilanti’s building, fire, and historic district ordinances. Plaintiff

alleges that this order lacked the requisite findings as to the types of repairs to be made to

the property and the amounts to be expended, but instead impermissibly delegated these


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        Plaintiff apparently has failed or refused to reimburse Barnes for the repairs, leading
Barnes to bring a separate suit seeking to foreclose upon the Cross Street property. In May of
2004, Judge Shelton granted summary judgment in favor of Barnes in this foreclosure action,
and also granted summary judgment in Barnes’s favor on a counterclaim asserted by Plaintiff.

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determinations to Barnes as receiver.

       According to Plaintiff, Barnes has used his court-appointed role as receiver to

embark upon repairs and improvements that are far in excess of what would be necessary

to abate any fire hazard on the property or otherwise comply with any pertinent law or

ordinance. Plaintiff alleges, for example, that Barnes has boasted to the media of his plan

to add luxury apartments on the top two floors of the building, and to place four or five

commercial tenants at the street level. As a result of the “unfettered discretion” enjoyed

by Barnes, (First Amended Complaint at ¶ 51), Plaintiff alleges that Barnes has

undertaken sweeping repairs for which he has demanded reimbursement in excess of

$200,000.

       3.     304-306 Perrin Street

       The third state court action at issue here involves an apartment house owned by

Plaintiff and located at 304-306 Perrin Street in Ypsilanti. In July of 2001, the City of

Ypsilanti and fire marshal Ichesco filed a nuisance abatement action in Washtenaw

County Circuit Court, alleging that this property had been damaged in a 1983 fire but had

not been repaired, and further alleging that inspections had revealed numerous building

code violations. Once again, Plaintiff alleges that the jurisdictional predicate to such a

suit was lacking. This case was assigned to Defendant Washtenaw County Circuit Judge

Timothy Connors.

       As with the Cross Street property, Plaintiff alleges that Defendant Boulard refused

in June of 2002 to inspect the Perrin Street property for purposes of issuing a certificate of

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occupancy, citing a purported verbal order by Judge Connors that he not do so. Instead,

on July 12, 2002, Judge Connors issued an order appointing Defendant Barnes as

successor receiver for the purpose of undertaking “all repairs consistent with all city

codes, statutes, ordinances, engineer reports, etc. to bring this property into compliance.”

(First Amended Complaint, Ex. M., 7/12/2002 Order at 4.)3

       Again, Plaintiff alleges that this court order impermissibly delegated to Defendant

Barnes the judicial function of determining the type and extent of repairs to be made to

the Perrin Street property. Plaintiff further alleges that it is evident from the state court

complaint that the Ypsilanti Defendants were pursuing far more than mere nuisance

abatement, and that they instead sought to reconfigure and upgrade the property. In

furtherance of this purpose, Plaintiff alleges that Barnes has exercised his “unfettered

discretion” to convert the Perrin Street property from a 4-unit to a 2-unit apartment

building, and to demand reimbursement from Plaintiff in the amount of $243,103 in order

to avoid foreclosure of the property.

B.     Subsequent Developments in the State Court Proceedings

       As is evident from the foregoing, the various state court suits involving Plaintiff’s

three Ypsilanti properties were by no means concluded when the present suit was

commenced in this Court in July of 2004. The following is a brief summary of



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        Through a prior November 22, 2001 order, Judge Connors had initially appointed Harry
Hutchison of the Ypsilanti building department as receiver, but Hutchison subsequently
“indicated to the Court that he can no longer act in that capacity.” (Id. at 1.)

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subsequent developments in these state court proceedings, at least so far as the Court can

glean from the constantly evolving record.

       Turning first to the Cross Street property, while Plaintiff’s complaint refers

exclusively to Judge Shelton’s rulings, Plaintiff already had appealed these circuit court

orders and secured a decision by the Michigan Court of Appeals before he commenced

this federal suit in July of 2004. Specifically, in an unpublished decision dated April 27,

2004, the Michigan Court of Appeals generally affirmed Judge Shelton’s rulings with

respect to the Cross Street property, remanding only for the limited purpose of requiring

the lower court’s review and approval of the charges for which Defendant Barnes sought

reimbursement from Plaintiff in order to ensure that these charges were “appropriate and

reasonable.” Ypsilanti Fire Marshal v. Kircher, No. 242697, 242857, 2004 WL 895888,

at *6-*7 (Mich. Ct. App. Apr. 27, 2004). In so ruling, the appellate court rejected various

challenges that appear quite similar to those advanced in Plaintiff’s complaint — e.g., that

the circuit court’s orders “d[id] not put sufficient restraints on the city” as to the repairs to

be performed. See id. at *6.

       On remand, Judge Shelton conducted an evidentiary hearing and issued a decision

in January of 2005, approving the City’s request for reimbursement in the amount of

$218,303.32 and finding that the costs incurred in repairing the Cross Street property

were reasonable and appropriate. Plaintiff evidently has appealed this ruling, and this




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appeal is still pending.4

       Judge Shelton’s rulings with regard to the Thompson Building also were addressed

in the above-cited unpublished April 27, 2004 decision of the Michigan Court of

Appeals.5 Specifically, the appellate court affirmed in part and reversed in part, rejecting

Plaintiff’s contention that the circuit court lacked jurisdiction under Michigan’s fire

prevention code to appoint a receiver, but agreeing with Plaintiff that Judge Shelton’s

order impermissibly authorized repairs beyond the scope of nuisance abatement, provided

insufficient guidance as to the duties to be performed by Defendant Barnes as receiver,

and failed to reserve to the court the power to review and approve any charges to be

imposed upon Plaintiff. See Ypsilanti Fire Marshall, 2004 WL 895888, at *4-*5.

       In a January 19, 2005 decision upon remand, Judge Shelton found that most, but

not all, of the repair costs and fees sought by the City were reasonably and appropriately

incurred in a permissible effort to abate nuisances, correct code violations, and otherwise

bring the property into compliance with the applicable ordinances and prior court orders.

Accordingly, Plaintiff was found to owe the amount of $187,686.38. Plaintiff has

appealed this ruling, and it appears that this appeal has been consolidated with the above-



       4
         As noted earlier, Judge Shelton also granted summary judgment in favor of Defendant
Barnes in a foreclosure suit arising from Plaintiff’s apparent failure to reimburse Barnes for the
costs incurred in repairing the Cross Street property. It appears that Plaintiff also has appealed
this decision, and that Plaintiff’s two pending appeals concerning the Cross Street property have
been consolidated by order of the Michigan Court of Appeals.
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       Again, Plaintiff’s complaint notably fails to mention this appellate court decision handed
down before the commencement of this federal suit.

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referenced appeals from Judge Shelton’s decisions concerning the Cross Street property.6

       Finally, with regard to the Perrin Street property, the circuit court dismissed the

case on July 12, 2004 for lack of progress. Plaintiff evidently has pursued various

appeals during the course of the Perrin Street suit, but the Court of Appeals has dismissed

them for lack of jurisdiction.7




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         The Thompson Building, like the Cross Street property, is also the subject of a separate
foreclosure action brought by Defendant Barnes against Plaintiff. Although the circuit court’s
disposition of this case is not clear from the record, it appears that Plaintiff has taken an appeal
in this suit as well, which again has been consolidated with his other appeals concerning the
Cross Street property and the Thompson Building.

        In addition, Plaintiff has filed a complaint for a writ of superintending control with the
Michigan Court of Appeals, seeking an order directing the circuit court to comply with the
appellate court’s rulings in its unpublished April 27, 2004 decision. The Court of Appeals
dismissed this complaint in an unpublished March 9, 2006 decision, finding that Plaintiff’s
pending appeals with respect to the Thompson Building provided an adequate legal remedy that
obviated the need for the appellate court to exercise superintending control. See Kircher v.
Washtenaw Circuit Court Judge, No. 262153, 2006 WL 572381, at *1 (Mich. Ct. App. Mar. 9,
2006). The Michigan Supreme Court subsequently denied leave to appeal, and recently denied
Plaintiff’s motion for reconsideration. See Kircher v. Washtenaw Circuit Judge, 475 Mich. 888,
715 N.W.2d 896 (2006), reconsideration denied, __ N.W.2d __, 2006 WL 2736073 (Mich. Sept.
26, 2006).
       7
         Once again, the underlying nuisance abatement action regarding the Perrin Street
property has been accompanied by a foreclosure suit brought by Defendant Barnes against
Plaintiff on the ground that he failed to reimburse Barnes for the costs incurred in repairing the
property. A judgment of foreclosure was entered against Plaintiff, and this ruling was affirmed
in an unpublished July 27, 2006 decision by the Michigan Court of Appeals. See Barnes v.
Kircher, No. 258127, 2006 WL 2085005 (Mich. Ct. App. July 27, 2006). Although Plaintiff
sought to raise a number of challenges to Judge Connors’s July 12, 2002 order in the nuisance
abatement suit appointing Barnes as successor receiver, the Court of Appeals held that it lacked
jurisdiction to address these matters in light of Plaintiff’s failure to perfect an appeal from this
order. See id. at *1.

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                                       III. ANALYSIS

A.     The Standards Governing Defendants’ Motions to Dismiss

       Through the present motions, Defendants have moved for the dismissal of

Plaintiff’s claims pursuant to Fed. R. Civ. P. 12(b)(1) for lack of subject matter

jurisdiction or, alternatively, pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a

claim. In resolving a jurisdictional challenge brought under Rule 12(b)(1), the Court

“takes the allegations in the complaint as true,” and determines whether the facts as

alleged give rise to a claim within the Court’s subject matter jurisdiction. Ohio Nat’l Life

Ins. Co. v. United States, 922 F.2d 320, 325 (6th Cir. 1990). “Where subject matter

jurisdiction is challenged pursuant to Rule 12(b)(1), the plaintiff has the burden of

proving jurisdiction in order to survive the motion.” Moir v. Greater Cleveland Regional

Transit Auth., 895 F.2d 266, 269 (6th Cir. 1990).

       Similarly, in resolving a motion brought under Rule 12(b)(6), the Court must

accept as true the well-pleaded factual allegations set forth in Plaintiff’s complaint.

Morgan v. Church’s Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987); Westlake v. Lucas,

537 F.2d 857, 858 (6th Cir. 1976). However, the Court “need not accept as true legal

conclusions or unwarranted factual inferences.” Morgan, 829 F.2d at 12. “Under Rule

12(b)(6), a complaint may be dismissed only if it is clear that no relief could be granted

under any set of facts that could be proved consistent with the allegations.” 829 F.2d at

12 (footnote, internal quotations and citations omitted). The Court will apply these

standards in considering Defendants’ motions.

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B.     The Defendant Judges Are Entitled to Absolute Judicial Immunity.

       As one of the grounds for seeking dismissal of the claims against them, the

Defendant state court judges, Washtenaw County Circuit Judges Donald Shelton and

Timothy Connors, argue that they are entitled to absolute judicial immunity from the

present suit brought exclusively under 42 U.S.C. § 1983. In response, Plaintiff contends

that judicial immunity extends only to suits for damages, while he seeks only equitable

relief in his claims against the Judicial Defendants. Plaintiff’s argument, however,

overlooks an amendment to § 1983 that was enacted fully ten years ago, and which

expressly precludes the award of injunctive relief he seeks against the Judicial Defendants

in this case.

       The Sixth Circuit has described the immunity from suit enjoyed by judges as

follows:

               “[J]udges of courts of superior or general jurisdiction are not liable
       to civil actions for their judicial acts, even when such acts are in excess of
       their jurisdiction, and are alleged to have been done maliciously or
       corruptly.” Bradley v. Fisher, 80 U.S. (13 Wall.) 335, 351, 20 L.Ed. 646
       (1872). This immunity applies to actions brought under 42 U.S.C. § 1983
       to recover for alleged deprivation of civil rights. See Pierson v. Ray, 386
       U.S. 547, 554-55, 87 S.Ct. 1213, 18 L.Ed.2d 288 (1967). The Supreme
       Court explained: “If judges were personally liable for erroneous decisions,
       the resulting avalanche of suits, most of them frivolous but vexatious,
       would provide powerful incentives for judges to avoid rendering decisions
       likely to provoke such suits. The resulting timidity would be hard to detect
       or control, and it would manifestly detract from independent and impartial
       adjudication . . . . Most judicial mistakes or wrongs are open to correction
       through ordinary mechanisms of review, which are largely free of the
       harmful side-effects inevitably associated with exposing judges to personal
       liability.” Forrester v. White, 484 U.S. 219, 226-27, 108 S.Ct. 538, 98
       L.Ed.2d 555 (1988).

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               Because “immunity is justified and defined by the functions it
       protects and serves, not by the person to whom it attaches,” id. at 227, 108
       S.Ct. 538, judicial immunity has its limits, in the form of two exceptions.
       “First, a judge is not immune from liability for nonjudicial actions, i.e.,
       actions not taken in the judge's judicial capacity. Second, a judge is not
       immune for actions, though judicial in nature, taken in the complete absence
       of all jurisdiction.” Mireles v. Waco, 502 U.S. 9, 11-12, 112 S.Ct. 286, 116
       L.Ed.2d 9 (1991) (citations omitted) . . . .

Stern v. Mascio, 262 F.3d 600, 606-07 (footnote omitted).

       Plaintiff does not seriously contend that either of these two exceptions to judicial

immunity is applicable here. First, it is clear that the Judicial Defendants were acting in

their judicial capacity when they took the actions complained of by Plaintiff. Every

allegation in the complaint concerning the Judicial Defendants involves a ruling they

made in the context of a pending case. Such court orders plainly are judicial actions, see

Mann v. Conlin, 22 F.3d 100, 104 (6th Cir. 1994) (observing that orders which “affect the

rights only of the individual [parties] in specific judicial proceedings” are “paradigmatic

judicial acts”), and Plaintiff does not assert otherwise.

       Neither do Plaintiff’s allegations establish that the Judicial Defendants acted in the

complete absence of all jurisdiction. The Michigan circuit courts over which the Judicial

Defendants preside are trial courts of general jurisdiction, and circuit court judges possess

“the power to enter orders . . . to effectuate [their] judgments.” Mann, 22 F.3d at 105.

While Plaintiff has alleged that the nuisance abatements suits brought against him by the

Ypsilanti Defendants lacked the necessary “jurisdictional predicate,” he acknowledges

that Michigan’s fire prevention code expressly authorizes such suits to be brought in the


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appropriate circuit court, see Mich. Comp. Laws § 29.23, and the record discloses that the

Ypsilanti Defendants duly referenced the fire prevention code in the three circuit court

complaints brought before the Judicial Defendants. Plaintiff’s “jurisdictional” challenge,

then, boils down to the claim that there were no “fire hazards” on his properties that could

sustain the state court suits, or that the Ypsilanti Defendants were pursuing an agenda

different from the mere abatement of nuisances on these properties. (See First Amended

Complaint at ¶ 15(a).)

       These sorts of challenges, even if meritorious, are insufficient to demonstrate that

the Judicial Defendants acted in the complete absence of all jurisdiction, as necessary for

them to surrender their judicial immunity. The Michigan circuit courts clearly had

subject matter jurisdiction over the nuisance abatement suits brought against Plaintiff and

his properties — the “jurisdictional predicate” that Plaintiff insists was lacking would

merely dictate the dismissal of the suits for failure to state a valid claim under the fire

prevention code, or perhaps the issuance of orders that were more narrowly tailored to the

nuisance-abatement purposes for which the suits purportedly were brought. Because

subject matter jurisdiction existed and Plaintiff quarrels only with the way in which it was

exercised, his allegations do not establish that the Judicial Defendants acted in the

complete absence of all jurisdiction. See Stern, 262 F.3d at 607-08.8

       8
        Notably, the Michigan Court of Appeals rejected Plaintiff’s jurisdictional challenge to
Judge Shelton’s rulings in the cases involving the Cross Street property and the Thompson
Building. See Ypsilanti Fire Marshal, 2004 WL 895888, at *4. This Court generally must defer
to the Michigan appellate court’s ruling on this issue of state law, absent some reason (and none
is apparent) to believe that the Michigan Supreme Court would decide the issue differently. See

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       Plaintiff’s principal response to the Judicial Defendants’ claim of judicial

immunity, however, is that this immunity does not extend to pleas for equitable relief. In

support of this proposition, Plaintiff cites Pulliam v. Allen, 466 U.S. 522, 541-42, 104 S.

Ct. 1970, 1981 (1984), in which the Supreme Court held that “judicial immunity is not a

bar to prospective injunctive relief against a judicial officer acting in her judicial

capacity.” Plaintiff argues that this limitation to judicial immunity applies here, where he

seeks only “an equitable order directing that [the Judicial Defendants] not violate the U.S.

Constitution.” (Plaintiff’s Answer to the Judicial Defendants’ Motion at ¶ 3.)

       This argument would be a good deal more persuasive if not for a 1996 amendment

to 42 U.S.C. § 1983 that abrogated the portion of Pulliam upon which Plaintiff seeks to

rely. Following this amendment, the statute now provides in pertinent part that “in any

action brought against a judicial officer for an act or omission taken in such officer’s

judicial capacity, injunctive relief shall not be granted unless a declaratory decree was

violated or declaratory relief was unavailable.” 42 U.S.C. § 1983 (emphasis added); see

also Bolin v. Story, 225 F.3d 1234, 1242 (11th Cir. 2000) (recognizing that Pulliam “has

been partially abrogated” as a result of this 1996 amendment). Plaintiff has not alleged

that the Judicial Defendants violated a declaratory decree or that declaratory relief was

unavailable at any relevant time. Accordingly, his request for an order directing the




Ziebart International Corp. v. CNA Insurance Cos., 78 F.3d 245, 250-51 (6th Cir. 1996). Thus,
it appears that Plaintiff’s jurisdictional challenge is not only insufficient to defeat the Judicial
Defendants’ appeal to judicial immunity, but likely is lacking in merit.

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Judicial Defendants to follow the law does not overcome their immunity from the present

suit brought under § 1983. See Massey v. Stosberg, No. 04-5344, 136 Fed. Appx. 719,

720 (6th Cir. Feb. 8, 2005); Montero v. Travis, 171 F.3d 757, 761 (2d Cir. 1999).9

C.     Because the State Court Suits Remained Pending When This Action Was
       Commenced, the Rooker-Feldman Doctrine Does Not Deprive This Court of
       Subject Matter Jurisdiction.

       As one of the grounds for seeking the dismissal of this action, the Ypsilanti

Defendants and the Judicial Defendants alike initially argued that the Court lacks subject

matter jurisdiction under the Rooker-Feldman doctrine. Yet, as the Judicial Defendants

seemingly recognize in their more recent submissions, it appears that an intervening

Supreme Court decision precludes the application of the Rooker-Feldman doctrine under

the particular circumstances presented here.

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         While Plaintiff’s complaint also includes a plea for declaratory relief against the Judicial
Defendants, (see First Amended Complaint at ¶ 24), his response to their motion refers only to a
posited order “enjoin[ing]” the Judicial Defendants from “entering and executing orders which
violate federally protected rights,” (Plaintiff’s Answer, Br. in Support at 8). Moreover, Plaintiff
has failed to suggest what sort of declaratory relief might appropriately be awarded with respect
to the Judicial Defendants in the event that he proves his allegations. Thus, the Judicial
Defendants’ entitlement to judicial immunity is not overcome by Plaintiff’s bare plea for
declaratory relief in his complaint.

        For what it is worth, the Court finds it inconceivable that any such relief would be
forthcoming in this case. Even assuming that the Court were to reach the merits of Plaintiff’s
various challenges to the Judicial Defendants’ rulings — an unlikely prospect, as discussed
below — and even assuming that one or more of these challenges was upheld, the Court fails to
perceive the need to retain the Judicial Defendants as parties to this action so that the Court
could then “declare” the purported errors in their past rulings or the law that should govern any
further proceedings. Rather, to the extent that any eventual rulings by this Court have any effect
upon the past orders or future proceedings in the state court suits, this Court is fully confident in
the ability of the Judicial Defendants to perceive these effects and faithfully apply the law to the
matters before them, regardless of whether they are no longer parties to this suit and directly
subject to this Court’s “declarations.”

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       At first glance, this case would appear to be an excellent candidate for the

application of this doctrine. The Supreme Court recently summarized the two decisions,

Rooker v. Fidelity Trust Co., 263 U.S. 413, 44 S. Ct. 149 (1923), and District of

Columbia Court of Appeals v. Feldman, 460 U.S. 462, 103 S. Ct. 1303 (1983), from

which the Rooker-Feldman doctrine derives its name:

               Rooker was a suit commenced in Federal District Court to have a
       judgment of a state court, adverse to the federal court plaintiffs, “declared
       null and void.” 263 U.S., at 414, 44 S.Ct. 149. In Feldman, parties
       unsuccessful in the District of Columbia Court of Appeals (the District’s
       highest court) commenced a federal court action against the very court that
       had rejected their applications. Holding the federal suits impermissible, we
       emphasized that appellate jurisdiction to reverse or modify a state-court
       judgment is lodged, initially by § 25 of the Judiciary Act of 1789, 1 Stat.
       85, and now by 28 U.S.C. § 1257, exclusively in this Court. Federal district
       courts, we noted, are empowered to exercise original, not appellate,
       jurisdiction. Plaintiffs in Rooker and Feldman had litigated and lost in
       state court. Their federal complaints, we observed, essentially invited
       federal courts of first instance to review and reverse unfavorable state-court
       judgments. We declared such suits out of bounds, i.e., properly dismissed
       for want of subject matter jurisdiction.

Exxon Mobil Corp. v. Saudi Basic Industries Corp., 125 S. Ct. 1517, 1521 (2005); see

also Community Treatment Centers, Inc. v. City of Westland, 970 F. Supp. 1197, 1212

(E.D. Mich. 1997) (stating that the Rooker and Feldman decisions, “taken together, stand

for the proposition that the inferior federal courts lack the authority to perform, in effect,

an appellate review of state court decisions”).

       Similarly, Plaintiff’s complaint in this case is, first and foremost, a challenge to

various state court rulings in the three suits brought by the City of Ypsilanti and its fire

marshal against Plaintiff as the owner of three particular Ypsilanti properties. It is

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difficult to see how the allegations of Plaintiff’s complaint could be construed as anything

other than a collateral attack upon unfavorable rulings in the state court litigation and

actions taken by the Ypsilanti Defendants or Defendant Barnes pursuant to these rulings.

Under analogous facts, the courts have invoked the Rooker-Feldman doctrine to dismiss a

federal suit that effectively seeks to overturn an allegedly erroneous state court judgment.

See, e.g., Garry v. Geils, 82 F.3d 1362, 1368-70 (7th Cir. 1996) (holding that the Rooker-

Feldman doctrine barred a federal suit alleging that the defendant municipal officials

targeted the plaintiffs’ property for condemnation to retaliate against the plaintiffs’

support of opposing political candidates).

       The recent decision in Exxon Mobil, however, highlights an important prerequisite

to the application of Rooker-Feldman that is lacking in the present case. As this Court

recently observed, Exxon Mobil holds that “[t]he Rooker-Feldman doctrine . . . is

confined to cases of the kind from which the doctrine acquired its name: cases brought

by state-court losers complaining of injuries caused by state-court judgments rendered

before the district court proceedings commenced and inviting district court review and

rejection of those judgments.” Kawecki ex rel. Marlowe v. County of Macomb, 367 F.

Supp.2d 1137, 1142 (E.D. Mich. 2005) (quoting Exxon Mobil, 125 S. Ct. at 1521-22).

The doctrine is not applicable, in contrast, where “there is parallel state and federal

litigation,” even if a final judgment is entered in state court while the federal suit is still

pending. Kawecki, 367 F. Supp.2d at 1142 (quoting Exxon Mobil, 125 S. Ct. at 1526).

       As is evident from the foregoing account of the state court litigation, most or all of

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the underlying state court suits involving Plaintiff’s three Ypsilanti properties were still

ongoing at the time this federal action was commenced. Indeed, with regard to the Cross

Street property and the Thompson Building, the Michigan Court of Appeals had recently

issued a decision reversing in part Judge Shelton’s rulings with respect to the Thompson

Building and ordering further proceedings as to both this and the Cross Street property.10

Under these circumstances, where the three state court actions cited in Plaintiff’s

complaint had yet to reach their conclusion at the time this federal suit was commenced,

and where at least some state court proceedings remain pending even as of the present

date, the Rooker-Feldman doctrine does not mandate the dismissal of this case for lack of

subject matter jurisdiction.




       10
          As observed earlier, Plaintiff’s complaint notably fails to mention this appellate court
decision, which was favorable to him in at least some limited respects. If the Court were to
confine itself solely to the incomplete allegations of the complaint, it could readily conclude that
the state court proceedings had run their course and that no further avenues of appeal remained
available to Plaintiff — a conclusion which, of course, would remove one of the obstacles to the
application of the Rooker-Feldman doctrine in this case.

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D.     A Stay Is Warranted to Prevent Undue Federal Court Interference with the
       Pending and Parallel State Court Proceedings.

       As observed in Exxon Mobil, in cases where “there is parallel state and federal

litigation” but the Rooker-Feldman doctrine does not apply, “[c]omity or abstention

doctrines may [nonetheless] permit or require the federal court to stay or dismiss the

federal action in favor of the state-court litigation.” Exxon Mobil, 125 S. Ct. at 1526-27.

In this case, Defendants appeal to Younger abstention as an alternative ground for seeking

the dismissal of this action. Plaintiff’s various responses to Defendants’ motions are

virtually silent as to the application of this abstention doctrine. Having reviewed the

parties’ submissions, the Court readily agrees that abstention is warranted, but finds that

the case should be stayed rather than dismissed.

       Younger abstention derives its name from the Supreme Court ruling in Younger v.

Harris, 401 U.S. 37, 91 S. Ct. 746 (1971). Where this doctrine applies, this Court may

not reach the merits of the federal suit, but must stay or dismiss the action pending the

final outcome of the state court proceedings. As the Supreme Court has explained:

               Younger v. Harris . . . and its progeny espouse a strong federal
       policy against federal-court interference with pending state judicial
       proceedings absent extraordinary circumstances. The policies underlying
       Younger abstention have been frequently reiterated by this Court. The
       notion of “comity” includes “a proper respect for state functions, a
       recognition of the fact that the entire country is made up of a Union of
       separate state governments, and a continuance of the belief that the National
       Government will fare best if the States and their institutions are left free to
       perform their separate functions in their separate ways.” Minimal respect
       for the state processes, of course, precludes any presumption that the state
       courts will not safeguard federal constitutional rights.


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Middlesex County Ethics Committee v. Garden State Bar Ass’n, 457 U.S. 423, 431, 102

S. Ct. 2515, 2521 (1982) (citation and footnote omitted). More recently, the Sixth Circuit

observed:

               In our litigious era, multiple lawsuits arising from the same
       occurrence are commonplace. Younger abstention is built upon common
       sense in the administration of a dual state-federal system of justice in such
       an era.

Carroll v. City of Mount Clemens, 139 F.3d 1072, 1074 (6th Cir. 1998). Thus, Younger

abstention is triggered when a parallel state proceeding “(1) is currently pending, (2)

involves an important state interest, and (3) affords the plaintiff an adequate opportunity

to raise constitutional claims.” Carroll, 139 F.3d at 1074.

       All of these conditions are satisfied here, and Plaintiff does not contend otherwise,

except perhaps as to the third prong of this test. First, there is no doubt that the state court

suits qualify as “parallel” to the present action, where Plaintiff’s allegations in his federal

complaint are almost exclusively concerned with the commencement of the three state

court suits concerning his Ypsilanti properties and the subsequent rulings and related

developments in these state court proceedings. Indeed, there is a nearly complete overlap

between the events and actions at issue in the state court litigation and those at issue here,

with virtually all of Plaintiff’s allegations in his federal complaint referencing the

commencement of the state court suits, rulings in the course of those suits, or actions

taken as a result of those rulings. And, of course, the presence of the state court judges as

defendants in this action is a fairly strong indicator of an overlap between the state and


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federal proceedings. Moreover, it is evident that all, or nearly all, of the state court suits

remain pending, with numerous appeals yet to be decided.

       It is further apparent that the state court proceedings involve the important state

interest of nuisance abatement. This is evident from the provision in Michigan’s fire

prevention code that authorizes “action[s] for the purpose of abating, removing,

correcting, or discontinuing [a] fire hazard.” Mich. Comp. Laws § 29.23. Even accepting

the truth of Plaintiff’s allegations that the state court suits were not motivated by concerns

of nuisance abatement, but instead advanced the improper objective of transferring

ownership of Plaintiff’s property to a “City Hall favorite,” Defendant Barnes, (First

Amended Complaint at ¶ 14), this would merely change the nature of, rather than

diminish, the state interest at stake in the state court proceedings. In particular, the state

courts (and especially Michigan’s appellate courts) presumably would have a significant

interest in ensuring that the state’s judicial power has been appropriately exercised and

that a court-appointed receiver had properly performed his duties. See Nilsson v.

Ruppert, Bronson & Chicarelli Co., 888 F.2d 452, 454 (6th Cir. 1989) (noting that the

state “has a great interest” in addressing allegations that its judicial system has been

subverted); Kawecki, 367 F. Supp.2d at 1146 (citing “the state probate court’s presumed

interest in policing the performance of a fiduciary . . . that was appointed by the court

itself”); Bortz v. DeGolyer, 904 F. Supp. 680, 684 (S.D. Ohio 1995) (observing that an

administrator appointed by a state court serves as an officer of that court, and that a

federal court ordinarily should not intercede in the state court’s oversight of its officers).

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       Finally, Plaintiff does not contend that he lacked an adequate opportunity to raise

his federal due process challenges in the course of the state court proceedings. To the

contrary, as an exhibit to their most recent summary judgment motion, the Judicial

Defendants have provided a compilation of the various instances in which Plaintiff has

advanced federal constitutional issues in the course of the state court suits involving each

of his three properties. (See Judicial Defendants’ Motion for Summary Judgment, Exs. A,

B, C.) In response, Plaintiff does not deny that he raised these issues, but states only that

he was “forced to present his federal constitutional defenses in state court” because of his

status as a defendant in the nuisance abatement actions. (Plaintiff’s Supplemental Br. at

3.)

       Yet, Plaintiff has not cited any authority indicating that it matters, for purposes of

Younger abstention, whether the requisite opportunity to raise constitutional issues arises

in an offensive or defensive posture. To the contrary, in a decision holding that the

doctrine of collateral estoppel applies in § 1983 suits to preclude relitigation of issues

decided in a prior state court criminal proceeding, the Supreme Court pointedly observed

that there is “no reason to believe that Congress intended to provide a person claiming a

federal right an unrestricted opportunity to relitigate an issue already decided in state

court simply because the issue arose in a state proceeding in which he would rather not

have been engaged at all.” Allen v. McCurry, 449 U.S. 90, 104, 101 S. Ct. 411, 420

(1980) (footnote omitted). In any event, Plaintiff does not stand solely in a defensive

posture in the state court litigation. Rather, he has asserted counterclaims in at least some

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of the state court suits, and he notably does not contend (i) that he was limited in his

ability to do so, or (ii) that he had no opportunity to raise federal constitutional issues in

these counterclaims. Accordingly, the Court finds that all of the prerequisites for

Younger abstention are present here.

       There remains only the question whether this case should be dismissed without

prejudice or stayed pending the final resolution of the state court proceedings. The

pertinent case law, and particularly the Sixth Circuit’s decision in Carroll, supra, points

fairly decisively in favor of a stay. Plaintiff is entitled, as a general matter, to pursue his §

1983 claims in a federal forum if he so chooses — assuming, of course, that the litigation

of these claims is not barred by some combination of issue and claim preclusion or on

some other ground. Moreover, having reviewed the portions of the state court record

provided by the parties, the Court cannot say with certainty that Plaintiff’s federal

constitutional claims have been or invariably will be addressed and resolved in the state

court proceedings, or that Plaintiff invariably will be precluded from pursuing his federal

claims in this Court by virtue of the issues raised and rulings made in the state court

proceedings. Under these circumstances, the Court believes “in the interests of caution”

that this case should be stayed rather than dismissed, in order to “protect against the

possibility that [Plaintiff] could be deprived of the opportunity to present the merits of

[his federal] claims in state court,” and in order to protect against the possible running of

any applicable statute of limitations. Carroll, 139 F.3d at 1075-76; see also Quackenbush

v. Allstate Ins. Co., 517 U.S. 706, 730, 116 S. Ct. 1712, 1727-28 (1996) (noting that,

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under the Supreme Court’s abstention decisions, the federal courts have been permitted to

stay but not dismiss claims for damages).11

E.     The Judicial Defendants Are Entitled to an Award of Rule 11 Sanctions.

       In the final motion pending before the Court, the Judicial Defendants seek an

award of sanction against Plaintiff and his counsel under Fed. R. Civ. P. 11. In

compliance with the “safe harbor” provision of this Rule, the Judicial Defendants’

counsel sent a letter to Plaintiff’s counsel more than twenty-one days prior to filing the

motion for sanctions, enclosing a copy of this motion and requesting that Plaintiff

stipulate to the dismissal of the claims against the Judicial Defendants. See Fed. R. Civ.

P. 11(c)(1)(A). When Plaintiff declined to grant this request, the Judicial Defendants

filed their motion for sanctions. Upon reviewing this motion and Plaintiff’s response, the

Court readily concludes that sanctions are appropriate.


       11
          The Court cautions Plaintiff and his counsel, however, that it will carefully review
Plaintiff’s submissions to the Court following the conclusion of the state court proceedings to
ensure that Plaintiff has identified a good faith, legally supported basis for going forward with
his federal § 1983 claims. As a general matter, this Court does not view a § 1983 due process
claim as an appropriate vehicle for a federal court to engage in a “second-guessing” review of a
complete and thorough course of state court proceedings, including appeals, to ensure that all of
the various rulings along the way comported with the federal constitution. On more than one
occasion, the Supreme Court has “emphatic[ally] reaffirm[ed] . . . the constitutional obligation of
the state courts to uphold federal law, and its . . . confidence in their ability to do so.” Allen, 449
U.S. at 105, 101 S. Ct. at 420; see also Stone v. Powell, 428 U.S. 465, 493 n.35, 96 S. Ct. 3037,
3052 n.35 (1976). In addition, this Court already has noted that the doctrines of issue preclusion,
see Allen, 449 U.S. at 105, 101 S. Ct. at 420, and claim preclusion, see Migra v. Warren City
School District Board of Education, 465 U.S. 75, 85, 104 S. Ct. 892, 898 (1984), will be fully
applicable in this case upon the conclusion of the state court proceedings. In light of the
extensive overlap between the issues litigated in state court and the allegations in Plaintiff’s
federal complaint, it appears likely that the state court proceedings will have a considerable
preclusive effect upon any further proceedings in this Court.

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       Under the portion of Rule 11 that is relevant to the present motion, each of an

attorney’s submissions to the Court carries an implied certification that, “to the best of the

[attorney]’s knowledge, information, and belief, formed after an inquiry reasonable under

the circumstances, . . . the claims, defenses, and other legal contentions therein are

warranted by existing law or by a nonfrivolous argument for the extension, modification,

or reversal of existing law or the establishment of new law.” Fed. R. Civ. P. 11(b)(2).

More generally, “[i]n this circuit, the test for the imposition of Rule 11 sanctions [is] . . .

whether the individual’s conduct was reasonable under the circumstances.” Union

Planters Bank v. L & J Development Co., 115 F.3d 378, 384 (6th Cir. 1997) (internal

quotation marks and citations omitted); see also Margo v. Weiss, 213 F.3d 55, 64 (2d Cir.

2000) (observing that “Rule 11(b)(2) establishes an objective standard, intended to

eliminate any ‘empty-head pure-heart’ justification for patently frivolous arguments”

(internal quotation marks and citation omitted)).

       For the reasons set forth earlier, Plaintiff’s opposition to the Judicial Defendants’

assertion of judicial immunity lacked any basis in existing law, nor was it supported by a

nonfrivolous argument for the extension, modification, or reversal of existing law or the

establishment of new law. With respect to any possible claim for damages, Plaintiff

acknowledged that the Judicial Defendants were shielded from any such liability by

longstanding and well-established immunity law, and that the two limited exceptions to

such immunity were not applicable here. Nonetheless, Plaintiff insisted, on the authority

of Pulliam v. Allen, 466 U.S. 522, 541-42, 104 S. Ct. 1970, 1981 (1984), that prospective

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injunctive relief was available against the Judicial Defendants under § 1983. Similarly, in

his response to the Judicial Defendants’ motion for sanctions, Plaintiff insists that the

orders issued in the state court litigation were “illegal” and violative of due process, and

he again maintains — this time without citation to any authority — that injunctive relief

may be awarded against judges under these circumstances.

       As discussed earlier, a simple review of the plain language of § 1983 as amended

ten years ago reveals the utter lack of merit in Plaintiff’s contention. By “ignor[ing]

rather than acknowledg[ing] the force of existing law,” Plaintiff’s counsel can hardly be

said to have engaged in an “effort to alter the law” as permitted under Rule 11. Szabo

Food Service, Inc. v. Canteen Corp., 823 F.2d 1073, 1082 (7th Cir. 1987). To the

contrary, Plaintiff’s counsel adopted the “ostrich-like tactic of pretending that potentially

dispositive authority against a litigant’s contention does not exist.” Szabo Food Service,

823 F.2d at 1081 (internal quotation marks and citation omitted). This runs directly

counter to the obligation imposed upon an attorney under Rule 11(b)(2). Accordingly,

the Court finds that sanctions are warranted here.

       It remains only for the Court to determine what sanction would be “sufficient to

deter repetition of such conduct or comparable conduct by others similarly situated.”

Fed. R. Civ. P. 11(c)(2). As suggested in the Rule itself, the Court finds that the Judicial

Defendants should be awarded an amount equal to the fees and expenses they reasonably

incurred as a result of Plaintiff’s violation. See Fed. R. Civ. P. 11(c)(2). This violation,

in the Court’s view, extends back to the filing of Plaintiff’s complaint, because it should

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have been evident to Plaintiff’s counsel from the inception of this case that Plaintiff’s

claims against the Judicial Defendants were barred by judicial immunity. Instead,

however, Plaintiff’s counsel elected to include these claims in the initial pleading in this

case, and then to continue to oppose the Judicial Defendants’ efforts to secure the

dismissal of the claims against them, both on immunity and other grounds. This course of

conduct was unreasonable, and warrants a commensurate award of sanctions. Thus, the

Judicial Defendants are entitled to recover the entirety of the attorney fees and expenses

they reasonably incurred in defending against the claims asserted in this case.12

                                      IV. CONCLUSION

       For the reasons set forth above,

       NOW, THEREFORE, IT IS HEREBY ORDERED that the Judicial Defendants’

July 28, 2004 Motion for Summary Disposition is GRANTED. In light of this ruling, IT

IS FURTHER ORDERED that the Judicial Defendants’ April 21, 2006 Motion for

Summary Judgment is DENIED AS MOOT.

       Next, IT IS FURTHER ORDERED that the Ypsilanti Defendants’ September 10,

2004 Motion to Dismiss and/or Stay Action is GRANTED IN PART, to the extent that

this motion sought the application of Younger abstention in this case.

       Finally, IT IS FURTHER ORDERED that the Judicial Defendants’ October 1,



       12
         As provided in Rule 11 itself, this award must be imposed against Plaintiff’s counsel
alone, and not Plaintiff, in light of the violation of subdivision (b)(2) of the Rule. See Fed. R.
Civ. P. 11(c)(2)(A).

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2004 Motion for Sanctions is GRANTED. In light of this ruling, IT IS FURTHER

ORDERED that, within fourteen (14) days of the date of this opinion and order, the

Judicial Defendants shall file and serve a statement and supporting materials setting forth

the precise amounts of attorneys’ fees and expenses claimed to be recoverable in

accordance with this opinion and order. Upon service of this statement, Plaintiff shall

then have fourteen (14) days in which to file and serve any challenges to the award

sought by the Judicial Defendants. The Judicial Defendants shall then, if they wish, file

and serve within seven (7) days a submission in further justification of the award sought

in their initial statement. The Court then will enter an order determining an appropriate

monetary sanction under the circumstances.


Dated: October 10, 2006

                                          s/Gerald E. Rosen
                                          Gerald E. Rosen
                                          United States District Judge




I hereby certify that a copy of the foregoing document was served upon counsel of record
on October 10, 2006, by electronic and/or ordinary mail.

                                          s/LaShawn R. Saulsberry
                                          Case Manager



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